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 5   PASHA REALTY HOLDINGS, LLC and
     Counterclaimants AZHAR PASHA and
 6   PASHA AVIATION, LLC

 7                             UNITED STATES DISTRICT COURT

8                          CENTRAL DISTRICT OF CALIFORNIA

 9   TEN-X, INC., a Delaware corporation,        Case No. 8:20-CV-02004-JVS-ADS

10                Plaintiff,                     (Case assigned to the Hon. James V.
                                                 Selna)
           vs.
11                                               STIPULATED PROTECTIVE ORDER
     PASHA REALTY HOLDINGS, LLC, a
12   Maryland limited liability company; and     Complaint Filed: October 21, 2020
     DOES 1 through 10,                          Trial Date: June 6, 2022
13
                 Defendant.
14   PASHA REALTY HOLDINGS, LLC, a
     Maryland limited liability company;
15   AZHAR PASHA, an individual; PASHA
     AVIATION, LLC dba PASHA REALTY
     HOLDINGS, a Mississippi limited liability
16   company,
17                Counterclaimants,

18         vs.

19   TEN-X, INC., a Delaware corporation;
     BRADD M. CAPLAN, an individual; 5900
     LLC, a Washington, D.C. limited liability
20   company; JONES LANG LASALLE
     AMERICAS, INC., a Maryland
21   corporation; SANJEEV “SONNY” K.
     PREET, an individual; RAJ DUA, an
22   individual; RAMA KRISHNA GRANDHI,
     an individual; and ROES 5 through 10,
23              Counterdefendants

24   AND RELATED COUNTERCLAIMS


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 1
            PLEASE TAKE NOTICE that Plaintiff and Counterdefendant Ten-X, Inc. (“Ten-
 2   X”), Counterdefendant Bradd Caplan (“Caplan”), Defendant and Counterclaimant
 3   Pasha Realty Holdings, LLC (“Pasha Holdings”) and Counterclaimants Azhar Pasha

 4   and Pasha Aviation LLC collectively, “Pasha Counterclaimants”), Counterdefendant

 5   James Lang LaSalle Americas, Inc. (“JLL”), and Cross-defendant 5900, LLC (“5900”)

     (collectively, the “Parties”) hereby stipulate in the above-entitled case (the “Action”) as
 6
     follows:
 7
     I.     PURPOSES AND LIMITATIONS
8
            A.     Discovery in this action is likely to involve production of confidential,
 9
            proprietary, or private information for which special protection from public
10
            disclosure and from use for any purpose other than prosecuting this litigation
11
            may be warranted. Accordingly, the parties hereby stipulate to and petition the
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            Court to enter the following Stipulated Protective Order. The parties
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            acknowledge that this Order does not confer blanket protections on all
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            disclosures or responses to discovery and that the protection it affords from
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            public disclosure and use extends only to the limited information or items that
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            are entitled to confidential treatment under the applicable legal principles. The
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            parties further acknowledge, as set forth in Section XIII(C), below, that this
18
            Stipulated Protective Order does not entitle them to file confidential information
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            under seal; Civil Local Rule 79-5 sets forth the procedures that must be followed
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            and the standards that will be applied when a party seeks permission from the
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            Court to file material under seal.
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 1   II.    GOOD CAUSE STATEMENT

 2          A.     This action is likely to involve valuable research, development,

 3          commercial, financial, technical and/or proprietary information for which

 4          special protection from public disclosure and from use for any purpose other

 5          than prosecution of this action is warranted. Such confidential and proprietary

 6          materials and information consist of, among other things, confidential business

 7          or financial information, information regarding confidential business practices,

8           or other confidential research, development, or commercial information

 9          (including information implicating privacy rights of third parties), information

10          otherwise generally unavailable to the public, or which may be privileged or

11          otherwise protected from disclosure under state or federal statutes, court rules,

12          case decisions, or common law. Accordingly, to expedite the flow of

13          information, to facilitate the prompt resolution of disputes over confidentiality

14          of discovery materials, to adequately protect information the parties are entitled

15          to keep confidential, to ensure that the parties are permitted reasonable

16          necessary uses of such material in preparation for and in the conduct of trial, to

17          address their handling at the end of the litigation, and serve the ends of justice, a

18          protective order for such information is justified in this matter. It is the intent of

19          the parties that information will not be designated as confidential for tactical

20          reasons and that nothing be so designated without a good faith belief that it has

21          been maintained in a confidential, non-public manner, and there is good cause

22          why it should not be part of the public record of this case.

23   III.   DEFINITIONS

24          A.     Action: This pending federal law suit.


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 1        B.     Challenging Party: A Party or Non-Party that challenges the designation

 2        of information or items under this Order.

 3        C.     “CONFIDENTIAL” Information or Items: Information (regardless of how

 4        it is generated, stored or maintained) or tangible things that qualify for

 5        protection under Federal Rule of Civil Procedure 26(c), and as specified above in

 6        the Good Cause Statement.

 7        D.     Counsel: Outside Counsel of Record and House Counsel (as well as their

8         support staff).

 9        E.     Designating Party: A Party or Non-Party that designates information or

10        items that it produces in disclosures or in responses to discovery as

11        “CONFIDENTIAL.”

12        F.     Disclosure or Discovery Material: All items or information, regardless of

13        the medium or manner in which it is generated, stored, or maintained

14        (including, among other things, testimony, transcripts, and tangible things), that

15        are produced or generated in disclosures or responses to discovery in this

16        matter.

17        G.     Expert: A person with specialized knowledge or experience in a matter

18        pertinent to the litigation who has been retained by a Party or its counsel to

19        serve as an expert witness or as a consultant in this Action.

20        H.     House Counsel: Attorneys who are employees of a party to this Action.

21        House Counsel does not include Outside Counsel of Record or any other outside

22        counsel.

23        I.     Non-Party: Any natural person, partnership, corporation, association, or

24        other legal entity not named as a Party to this action.


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 1         J.     Outside Counsel of Record: Attorneys who are not employees of a party

 2         to this Action but are retained to represent or advise a party to this Action and

 3         have appeared in this Action on behalf of that party or are affiliated with a law

 4         firm which has appeared on behalf of that party, and includes support staff.

 5         K.     Party: Any party to this Action, including all of its officers, directors,

 6         employees, consultants, retained experts, and Outside Counsel of Record (and

 7         their support staffs).

8          L.     Producing Party: A Party or Non-Party that produces Disclosure or

 9         Discovery Material in this Action.

10         M.     Professional Vendors: Persons or entities that provide litigation support

11         services (e.g., photocopying, videotaping, translating, preparing exhibits or

12         demonstrations, and organizing, storing, or retrieving data in any form or

13         medium) and their employees and subcontractors.

14         N.     Protected Material: Any Disclosure or Discovery Material that is

15         designated as “CONFIDENTIAL.”

16         O.     Receiving Party: A Party that receives Disclosure or Discovery Material

17         from a Producing Party.

18   IV.   SCOPE

19         A.     The protections conferred by this Stipulation and Order cover not only

20         Protected Material (as defined above), but also (1) any information copied or

21         extracted from Protected Material; (2) all copies, excerpts, summaries, or

22         compilations of Protected Material; and (3) any testimony, conversations, or

23         presentations by Parties or their Counsel that might reveal Protected Material.

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 1         B.     Any use of Protected Material at trial shall be governed by the orders of

 2         the trial judge. This Order does not govern the use of Protected Material at trial.

 3   V.    DURATION

 4         A.     Even after final disposition of this litigation, the confidentiality

 5         obligations imposed by this Order shall remain in effect until a Designating

 6         Party agrees otherwise in writing or a court order otherwise directs. Final

 7         disposition shall be deemed to be the later of (1) dismissal of all claims and

8          defenses in this Action, with or without prejudice; and (2) final judgment herein

 9         after the completion and exhaustion of all appeals, rehearings, remands, trials,

10         or reviews of this Action, including the time limits for filing any motions or

11         applications for extension of time pursuant to applicable law.

12   VI.   DESIGNATING PROTECTED MATERIAL

13         A.     Exercise of Restraint and Care in Designating Material for Protection

14                1.     Each Party or Non-Party that designates information or items for

15                protection under this Order must take care to limit any such designation

16                to specific material that qualifies under the appropriate standards. The

17                Designating Party must designate for protection only those parts of

18                material, documents, items, or oral or written communications that

19                qualify so that other portions of the material, documents, items, or

20                communications for which protection is not warranted are not swept

21                unjustifiably within the ambit of this Order.

22                2.     Mass, indiscriminate, or routinized designations are prohibited.

23                Designations that are shown to be clearly unjustified or that have been

24                made for an improper purpose (e.g., to unnecessarily encumber the case


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 1             development process or to impose unnecessary expenses and burdens on

 2             other parties) may expose the Designating Party to sanctions.

 3             3.     If it comes to a Designating Party’s attention that information or

 4             items that it designated for protection do not qualify for protection, that

 5             Designating Party must promptly notify all other Parties that it is

 6             withdrawing the inapplicable designation.

 7        B.   Manner and Timing of Designations

8              1.     Except as otherwise provided in this Order (see, e.g., Section

 9             B(2)(b) below), or as otherwise stipulated or ordered, Disclosure or

10             Discovery Material that qualifies for protection under this Order must be

11             clearly so designated before the material is disclosed or produced.

12             2.     Designation in conformity with this Order requires the following:

13                    a.     For information in documentary form (e.g., paper or

14                    electronic documents, but excluding transcripts of depositions or

15                    other pretrial or trial proceedings), that the Producing Party affix

16                    at a minimum, the legend “CONFIDENTIAL” (hereinafter

17                    “CONFIDENTIAL legend”), to each page that contains protected

18                    material. If only a portion or portions of the material on a page

19                    qualifies for protection, the Producing Party also must clearly

20                    identify the protected portion(s) (e.g., by making appropriate

21                    markings in the margins).

22                    b.     A Party or Non-Party that makes original documents

23                    available for inspection need not designate them for protection

24                    until after the inspecting Party has indicated which documents it


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 1                   would like copied and produced. During the inspection and before

 2                   the designation, all of the material made available for inspection

 3                   shall be deemed “CONFIDENTIAL.” After the inspecting Party has

 4                   identified the documents it wants copied and produced, the

 5                   Producing Party must determine which documents, or portions

 6                   thereof, qualify for protection under this Order. Then, before

 7                   producing the specified documents, the Producing Party must affix

8                    the “CONFIDENTIAL legend” to each page that contains Protected

 9                   Material. If only a portion or portions of the material on a page

10                   qualifies for protection, the Producing Party also must clearly

11                   identify the protected portion(s) (e.g., by making appropriate

12                   markings in the margins).

13                   c.     For testimony given in depositions, that the Designating

14                   Party identify the Disclosure or Discovery Material on the record,

15                   before the close of the deposition all protected testimony.

16                   d.     For information produced in form other than document and

17                   for any other tangible items, that the Producing Party affix in a

18                   prominent place on the exterior of the container or containers in

19                   which the information is stored the legend “CONFIDENTIAL.” If

20                   only a portion or portions of the information warrants protection,

21                   the Producing Party, to the extent practicable, shall identify the

22                   protected portion(s).

23        C.   Inadvertent Failure to Designate

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 1                 1.       If timely corrected, an inadvertent failure to designate qualified

 2                 information or items does not, standing alone, waive the Designating

 3                 Party’s right to secure protection under this Order for such material.

 4                 Upon timely correction of a designation, the Receiving Party must make

 5                 reasonable efforts to assure that the material is treated in accordance with

 6                 the provisions of this Order.

 7   VII.   CHALLENGING CONFIDENTIALITY DESIGNATIONS

8           A.     Timing of Challenges

 9                 1.       Any party or Non-Party may challenge a designation of

10                 confidentiality at any time that is consistent with the Court’s Scheduling

11                 Order.

12          B.     Meet and Confer

13                 1.       The Challenging Party shall initiate the dispute resolution process

14                 under Local Rule 37.1 et seq.

15          C.     The burden of persuasion in any such challenge proceeding shall be on

16          the Designating Party. Frivolous challenges, and those made for an improper

17          purpose (e.g., to harass or impose unnecessary expenses and burdens on other

18          parties) may expose the Challenging Party to sanctions. Unless the Designating

19          Party has waived or withdrawn the confidentiality designation, all parties shall

20          continue to afford the material in question the level of protection to which it is

21          entitled under the Producing Party’s designation until the Court rules on the

22          challenge.

23   VIII. ACCESS TO AND USE OF PROTECTED MATERIAL

24          A.     Basic Principles


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 1               1.     A Receiving Party may use Protected Material that is disclosed or

 2               produced by another Party or by a Non-Party in connection with this

 3               Action only for prosecuting, defending, or attempting to settle this Action.

 4               Such Protected Material may be disclosed only to the categories of

 5               persons and under the conditions described in this Order. When the

 6               Action has been terminated, a Receiving Party must comply with the

 7               provisions of Section XIV below.

8                2.     Protected Material must be stored and maintained by a Receiving

 9               Party at a location and in a secure manner that ensures that access is

10               limited to the persons authorized under this Order.

11         B.    Disclosure of “CONFIDENTIAL” Information or Items

12               1.     Unless otherwise ordered by the Court or permitted in writing by

13               the Designating Party, a Receiving Party may disclose any information or

14               item designated “CONFIDENTIAL” only to:

15                      a.     The Receiving Party’s Outside Counsel of Record in this

16                      Action, as well as employees of said Outside Counsel of Record to

17                      whom it is reasonably necessary to disclose the information for this

18                      Action;

19                      b.     The officers, directors, and employees (including House

20                      Counsel) of the Receiving Party to whom disclosure is reasonably

21                      necessary for this Action;

22                      c.     Experts (as defined in this Order) of the Receiving Party to

23                      whom disclosure is reasonably necessary for this Action and who

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 1                    have signed the “Acknowledgment and Agreement to Be Bound”

 2                    (Exhibit A);

 3                    d.     The Court and its personnel;

 4                    e.     Court reporters and their staff;

 5                    f.     Professional jury or trial consultants, mock jurors, and

 6                    Professional Vendors to whom disclosure is reasonably necessary

 7                    or this Action and who have signed the “Acknowledgment and

8                     Agreement to be Bound” attached as Exhibit A hereto;

 9                    g.     The author or recipient of a document containing the

10                    information or a custodian or other person who otherwise

11                    possessed or knew the information;

12                    h.     During their depositions, witnesses, and attorneys for

13                    witnesses, in the Action to whom disclosure is reasonably

14                    necessary provided: (i) the deposing party requests that the

15                    witness sign the “Acknowledgment and Agreement to Be Bound;”

16                    and (ii) they will not be permitted to keep any confidential

17                    information unless they sign the “Acknowledgment and Agreement

18                    to Be Bound,” unless otherwise agreed by the Designating Party or

19                    ordered by the Court. Pages of transcribed deposition testimony or

20                    exhibits to depositions that reveal Protected Material may be

21                    separately bound by the court reporter and may not be disclosed to

22                    anyone except as permitted under this Stipulated Protective Order;

23                    and

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 1                      i.     Any mediator or settlement officer, and their supporting

 2                      personnel, mutually agreed upon by any of the parties engaged in

 3                      settlement discussions.

 4   IX.   PROTECTED MATERIAL SUPOENAED OR ORDERED PRODUCED

 5         IN OTHER LITIGATION

 6         A.    If a Party is served with a subpoena or a court order issued in other

 7         litigation that compels disclosure of any information or items designated in this

8          Action as “CONFIDENTIAL,” that Party must:

 9               1.     Promptly notify in writing the Designating Party. Such notification

10               shall include a copy of the subpoena or court order;

11               2.     Promptly notify in writing the party who caused the subpoena or

12               order to issue in the other litigation that some or all of the material

13               covered by the subpoena or order is subject to this Protective Order. Such

14               notification shall include a copy of this Stipulated Protective Order; and

15               3.     Cooperate with respect to all reasonable procedures sought to be

16               pursued by the Designating Party whose Protected Material may be

17               affected.

18         B.    If the Designating Party timely seeks a protective order, the Party served

19         with the subpoena or court order shall not produce any information designated

20         in this action as “CONFIDENTIAL” before a determination by the Court from

21         which the subpoena or order issued, unless the Party has obtained the

22         Designating Party’s permission. The Designating Party shall bear the burden

23         and expense of seeking protection in that court of its confidential material and

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 1         nothing in these provisions should be construed as authorizing or encouraging a

 2         Receiving Party in this Action to disobey a lawful directive from another court.

 3   X.    A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE

 4         PRODUCED IN THIS LITIGATION

 5         A.    The terms of this Order are applicable to information produced by a Non-

 6         Party in this Action and designated as “CONFIDENTIAL.” Such information

 7         produced by Non-Parties in connection with this litigation is protected by the

8          remedies and relief provided by this Order. Nothing in these provisions should

 9         be construed as prohibiting a Non-Party from seeking additional protections.

10         B.    In the event that a Party is required, by a valid discovery request, to

11         produce a Non-Party’s confidential information in its possession, and the Party

12         is subject to an agreement with the Non-Party not to produce the Non-Party’s

13         confidential information, then the Party shall:

14               1.     Promptly notify in writing the Requesting Party and the Non-Party

15               that some or all of the information requested is subject to a

16               confidentiality agreement with a Non-Party;

17               2.     Promptly provide the Non-Party with a copy of the Stipulated

18               Protective Order in this Action, the relevant discovery request(s), and a

19               reasonably specific description of the information requested; and

20               3.     Make the information requested available for inspection by the

21               Non-Party, if requested.

22         C.    If the Non-Party fails to seek a protective order from this court within 14

23         days of receiving the notice and accompanying information, the Receiving Party

24         may produce the Non-Party’s confidential information responsive to the


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 1         discovery request. If the Non-Party timely seeks a protective order, the

 2         Receiving Party shall not produce any information in its possession or control

 3         that is subject to the confidentiality agreement with the Non-Party before a

 4         determination by the court. Absent a court order to the contrary, the Non-Party

 5         shall bear the burden and expense of seeking protection in this court of its

 6         Protected Material.

 7   XI.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

8          A.     If a Receiving Party learns that, by inadvertence or otherwise, it has

 9         disclosed Protected Material to any person or in any circumstance not

10         authorized under this Stipulated Protective Order, the Receiving Party must

11         immediately (1) notify in writing the Designating Party of the unauthorized

12         disclosures, (2) use its best efforts to retrieve all unauthorized copies of the

13         Protected Material, (3) inform the person or persons to whom unauthorized

14         disclosures were made of all the terms of this Order, and (4) request such person

15         or persons to execute the “Acknowledgment and Agreement to be Bound” that is

16         attached hereto as Exhibit A.

17   XII. INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE

18         PROTECTED MATERIAL

19         A.     When a Producing Party gives notice to Receiving Parties that certain

20         inadvertently produced material is subject to a claim of privilege or other

21         protection, the obligations of the Receiving Parties are those set forth in Federal

22         Rule of Civil Procedure 26(b)(5)(B). This provision is not intended to modify

23         whatever procedure may be established in an e-discovery order that provides for

24         production without prior privilege review. Pursuant to Federal Rule of Evidence


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 1         502(d) and (e), insofar as the parties reach an agreement on the effect of

 2         disclosure of a communication or information covered by the attorney-client

 3         privilege or work product protection, the parties may incorporate their

 4         agreement in the Stipulated Protective Order submitted to the Court.

 5   XIII. MISCELLANEOUS

 6         A.    Right to Further Relief

 7               1.       Nothing in this Order abridges the right of any person to seek its

8                modification by the Court in the future.

 9         B.    Right to Assert Other Objections

10               1.       By stipulating to the entry of this Protective Order, no Party waives

11               any right it otherwise would have to object to disclosing or producing any

12               information or item on any ground not addressed in this Stipulated

13               Protective Order. Similarly, no Party waives any right to object on any

14               ground to use in evidence of any of the material covered by this Protective

15               Order.

16         C.    Filing Protected Material

17               1.       A Party that seeks to file under seal any Protected Material must

18               comply with Civil Local Rule 79-5. Protected Material may only be filed

19               under seal pursuant to a court order authorizing the sealing of the specific

20               Protected Material at issue. If a Party's request to file Protected Material

21               under seal is denied by the Court, then the Receiving Party may file the

22               information in the public record unless otherwise instructed by the Court.

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 1   XIV. FINAL DISPOSITION

 2         A.     After the final disposition of this Action, as defined in Section V, within

 3         sixty (60) days of a written request by the Designating Party, each Receiving

 4         Party must return all Protected Material to the Producing Party or destroy such

 5         material. As used in this subdivision, “all Protected Material” includes all copies,

 6         abstracts, compilations, summaries, and any other format reproducing or

 7         capturing any of the Protected Material. Whether the Protected Material is

8          returned or destroyed, the Receiving Party must submit a written certification to

 9         the Producing Party (and, if not the same person or entity, to the Designating

10         Party) by the 60 day deadline that (1) identifies (by category, where appropriate)

11         all the Protected Material that was returned or destroyed and (2) affirms that the

12         Receiving Party has not retained any copies, abstracts, compilations, summaries

13         or any other format reproducing or capturing any of the Protected Material.

14         Notwithstanding this provision, Counsel are entitled to retain an archival copy of

15         all pleadings, motion papers, trial, deposition, and hearing transcripts, legal

16         memoranda, correspondence, deposition and trial exhibits, expert reports,

17         attorney work product, and consultant and expert work product, even if such

18         materials contain Protected Material. Any such archival copies that contain or

19         constitute Protected Material remain subject to this Protective Order as set forth

20         in Section V.

21         B.     Any violation of this Order may be punished by any and all appropriate

22         measures including, without limitation, contempt proceedings and/or monetary

23         sanctions.

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 1   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

 2
      Dated: November 22, 2021          REIF LAW GROUP, P.C.
 3
                                         /s/ Rachel D. Dardashti
 4                                      RACHEL D. DARDASHTI
                                        Attorneys for Plaintiff / Counterdefendant
 5                                      TEN-X, INC. and Counterdefendant BRADD
                                        CAPLAN
 6
      Dated: November 22, 2021          GASCOU HOPKINS LLP
 7
                                        /s/ James C Castle                 .
8                                       JAMES C. CASTLE
                                        Attorneys for Cross-Defendant
 9                                      JONES LANG LASALLE AMERICAS, INC.
10
      Dated: November 22, 2021          GREENSPOON MARDER LLP
11
                                         /s/ Kathleen C. Hipps
12                                       Kathleen C. Hipps
                                        Attorneys for Defendant/Counterclaimant PASHA
13                                      REALTY HOLDINGS, LLC and
                                        Counterclaimants AZHAR PASHA and PASHA
14                                      AVIATION LLC dba PASHA REALTY
                                        HOLDINGS
15   Dated: November 22, 2021           BAER NEGRIN & TROFF LLP
16                                      /s/ Matthew Negrin                        .
17                                      Matthew J. Negrin
                                        Attorneys for Cross-Defendant 5900, LLC
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19
     FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
20

21   Dated:
                                        HONORABLE AUTUMN D. SPAETH
22                                      United States Magistrate Judge

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 1                               EXHIBIT A
                  ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 2

 3           I,                                  [print or type full name], of

 4                         [print or type full address], declare under penalty of perjury that I

 5   have read in its entirety and understand the Stipulated Protective Order that was issued

 6   by the United States District Court for the Central District of California on [DATE] in

 7   the case of Ten-X, Inc. vs. Pasha Realty Holdings, LLC, et al., Case. No. 8:20-CV-02004-JVS-

8    ADS. I agree to comply with and to be bound by all the terms of this Stipulated

 9   Protective Order and I understand and acknowledge that failure to so comply could

10   expose me to sanctions and punishment in the nature of contempt. I solemnly promise

11   that I will not disclose in any manner any information or item that is subject to this

12   Stipulated Protective Order to any person or entity except in strict compliance with the

13   provisions of this Order.

14           I further agree to submit to the jurisdiction of the United States District Court

15   for the Central District of California for the purpose of enforcing the terms of this

16   Stipulated Protective Order, even if such enforcement proceedings occur after

17   termination of this action. I hereby appoint                                    [print or

18   type full name] of                                  [print or type full address and

19   telephone number] as my California agent for service of process in connection with this

20   action or any proceedings related to enforcement of this Stipulated Protective Order.

21   Date:

22   City and State where sworn and signed:

23   Printed Name:

24   Signature:


                                                    18
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     Attorneys for Defendant/Counterclaimant
 5   PASHA REALTY HOLDINGS, LLC and
     Counterclaimants AZHAR PASHA and
 6   PASHA AVIATION, LLC

 7                             UNITED STATES DISTRICT COURT

8                          CENTRAL DISTRICT OF CALIFORNIA

 9   TEN-X, INC., a Delaware corporation,        Case No. 8:20-CV-02004-JVS-ADS

10                Plaintiff,                     (Case assigned to the Hon. James V.
                                                 Selna)
           vs.
11                                               STIPULATED PROTECTIVE ORDER
     PASHA REALTY HOLDINGS, LLC, a
12   Maryland limited liability company; and     Complaint Filed: October 21, 2020
     DOES 1 through 10,                          Trial Date: June 6, 2022
13
                 Defendant.
14   PASHA REALTY HOLDINGS, LLC, a
     Maryland limited liability company;
15   AZHAR PASHA, an individual; PASHA
     AVIATION, LLC dba PASHA REALTY
     HOLDINGS, a Mississippi limited liability
16   company,
17                Counterclaimants,

18         vs.

19   TEN-X, INC., a Delaware corporation;
     BRADD M. CAPLAN, an individual; 5900
     LLC, a Washington, D.C. limited liability
20   company; JONES LANG LASALLE
     AMERICAS, INC., a Maryland
21   corporation; SANJEEV “SONNY” K.
     PREET, an individual; RAJ DUA, an
22   individual; RAMA KRISHNA GRANDHI,
     an individual; and ROES 5 through 10,
23              Counterdefendants

24   AND RELATED COUNTERCLAIMS


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 1
            PLEASE TAKE NOTICE that Plaintiff and Counterdefendant Ten-X, Inc. (“Ten-
 2   X”), Counterdefendant Bradd Caplan (“Caplan”), Defendant and Counterclaimant
 3   Pasha Realty Holdings, LLC (“Pasha Holdings”) and Counterclaimants Azhar Pasha

 4   and Pasha Aviation LLC collectively, “Pasha Counterclaimants”), Counterdefendant

 5   James Lang LaSalle Americas, Inc. (“JLL”), and Cross-defendant 5900, LLC (“5900”)

     (collectively, the “Parties”) hereby stipulate in the above-entitled case (the “Action”) as
 6
     follows:
 7
     I.     PURPOSES AND LIMITATIONS
8
            A.     Discovery in this action is likely to involve production of confidential,
 9
            proprietary, or private information for which special protection from public
10
            disclosure and from use for any purpose other than prosecuting this litigation
11
            may be warranted. Accordingly, the parties hereby stipulate to and petition the
12
            Court to enter the following Stipulated Protective Order. The parties
13
            acknowledge that this Order does not confer blanket protections on all
14
            disclosures or responses to discovery and that the protection it affords from
15
            public disclosure and use extends only to the limited information or items that
16
            are entitled to confidential treatment under the applicable legal principles. The
17
            parties further acknowledge, as set forth in Section XIII(C), below, that this
18
            Stipulated Protective Order does not entitle them to file confidential information
19
            under seal; Civil Local Rule 79-5 sets forth the procedures that must be followed
20
            and the standards that will be applied when a party seeks permission from the
21
            Court to file material under seal.
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 1   II.    GOOD CAUSE STATEMENT

 2          A.     This action is likely to involve valuable research, development,

 3          commercial, financial, technical and/or proprietary information for which

 4          special protection from public disclosure and from use for any purpose other

 5          than prosecution of this action is warranted. Such confidential and proprietary

 6          materials and information consist of, among other things, confidential business

 7          or financial information, information regarding confidential business practices,

8           or other confidential research, development, or commercial information

 9          (including information implicating privacy rights of third parties), information

10          otherwise generally unavailable to the public, or which may be privileged or

11          otherwise protected from disclosure under state or federal statutes, court rules,

12          case decisions, or common law. Accordingly, to expedite the flow of

13          information, to facilitate the prompt resolution of disputes over confidentiality

14          of discovery materials, to adequately protect information the parties are entitled

15          to keep confidential, to ensure that the parties are permitted reasonable

16          necessary uses of such material in preparation for and in the conduct of trial, to

17          address their handling at the end of the litigation, and serve the ends of justice, a

18          protective order for such information is justified in this matter. It is the intent of

19          the parties that information will not be designated as confidential for tactical

20          reasons and that nothing be so designated without a good faith belief that it has

21          been maintained in a confidential, non-public manner, and there is good cause

22          why it should not be part of the public record of this case.

23   III.   DEFINITIONS

24          A.     Action: This pending federal law suit.


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 1         B.     Challenging Party: A Party or Non-Party that challenges the designation

 2         of information or items under this Order.

 3         C.     “CONFIDENTIAL” Information or Items: Information (regardless of how

 4         it is generated, stored or maintained) or tangible things that qualify for

 5         protection under Federal Rule of Civil Procedure 26(c), and as specified above in

 6         the Good Cause Statement.

 7         D.     Counsel: Outside Counsel of Record and House Counsel (as well as their

8          support staff).

 9         E.     Designating Party: A Party or Non-Party that designates information or

10         items that it produces in disclosures or in responses to discovery as

11         “CONFIDENTIAL.”

12         F.     Disclosure or Discovery Material: All items or information, regardless of

13         the medium or manner in which it is generated, stored, or maintained

14         (including, among other things, testimony, transcripts, and tangible things), that

15         are produced or generated in disclosures or responses to discovery in this

16         matter.

17         G.     Expert: A person with specialized knowledge or experience in a matter

18         pertinent to the litigation who has been retained by a Party or its counsel to

19         serve as an expert witness or as a consultant in this Action.

20         H.     House Counsel: Attorneys who are employees of a party to this Action.

21         House Counsel does not include Outside Counsel of Record or any other outside

22         counsel.

23         I.     Non-Party: Any natural person, partnership, corporation, association, or

24         other legal entity not named as a Party to this action.


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 1         J.     Outside Counsel of Record: Attorneys who are not employees of a party

 2         to this Action but are retained to represent or advise a party to this Action and

 3         have appeared in this Action on behalf of that party or are affiliated with a law

 4         firm which has appeared on behalf of that party, and includes support staff.

 5         K.     Party: Any party to this Action, including all of its officers, directors,

 6         employees, consultants, retained experts, and Outside Counsel of Record (and

 7         their support staffs).

8          L.     Producing Party: A Party or Non-Party that produces Disclosure or

 9         Discovery Material in this Action.

10         M.     Professional Vendors: Persons or entities that provide litigation support

11         services (e.g., photocopying, videotaping, translating, preparing exhibits or

12         demonstrations, and organizing, storing, or retrieving data in any form or

13         medium) and their employees and subcontractors.

14         N.     Protected Material: Any Disclosure or Discovery Material that is

15         designated as “CONFIDENTIAL.”

16         O.     Receiving Party: A Party that receives Disclosure or Discovery Material

17         from a Producing Party.

18   IV.   SCOPE

19         A.     The protections conferred by this Stipulation and Order cover not only

20         Protected Material (as defined above), but also (1) any information copied or

21         extracted from Protected Material; (2) all copies, excerpts, summaries, or

22         compilations of Protected Material; and (3) any testimony, conversations, or

23         presentations by Parties or their Counsel that might reveal Protected Material.

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 1         B.     Any use of Protected Material at trial shall be governed by the orders of

 2         the trial judge. This Order does not govern the use of Protected Material at trial.

 3   V.    DURATION

 4         A.     Even after final disposition of this litigation, the confidentiality

 5         obligations imposed by this Order shall remain in effect until a Designating

 6         Party agrees otherwise in writing or a court order otherwise directs. Final

 7         disposition shall be deemed to be the later of (1) dismissal of all claims and

8          defenses in this Action, with or without prejudice; and (2) final judgment herein

 9         after the completion and exhaustion of all appeals, rehearings, remands, trials,

10         or reviews of this Action, including the time limits for filing any motions or

11         applications for extension of time pursuant to applicable law.

12   VI.   DESIGNATING PROTECTED MATERIAL

13         A.     Exercise of Restraint and Care in Designating Material for Protection

14                1.     Each Party or Non-Party that designates information or items for

15                protection under this Order must take care to limit any such designation

16                to specific material that qualifies under the appropriate standards. The

17                Designating Party must designate for protection only those parts of

18                material, documents, items, or oral or written communications that

19                qualify so that other portions of the material, documents, items, or

20                communications for which protection is not warranted are not swept

21                unjustifiably within the ambit of this Order.

22                2.     Mass, indiscriminate, or routinized designations are prohibited.

23                Designations that are shown to be clearly unjustified or that have been

24                made for an improper purpose (e.g., to unnecessarily encumber the case


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 1               development process or to impose unnecessary expenses and burdens on

 2               other parties) may expose the Designating Party to sanctions.

 3               3.     If it comes to a Designating Party’s attention that information or

 4               items that it designated for protection do not qualify for protection, that

 5               Designating Party must promptly notify all other Parties that it is

 6               withdrawing the inapplicable designation.

 7         B.    Manner and Timing of Designations

8                1.     Except as otherwise provided in this Order (see, e.g., Section

 9               B(2)(b) below), or as otherwise stipulated or ordered, Disclosure or

10               Discovery Material that qualifies for protection under this Order must be

11               clearly so designated before the material is disclosed or produced.

12               2.     Designation in conformity with this Order requires the following:

13                      a.     For information in documentary form (e.g., paper or

14                      electronic documents, but excluding transcripts of depositions or

15                      other pretrial or trial proceedings), that the Producing Party affix

16                      at a minimum, the legend “CONFIDENTIAL” (hereinafter

17                      “CONFIDENTIAL legend”), to each page that contains protected

18                      material. If only a portion or portions of the material on a page

19                      qualifies for protection, the Producing Party also must clearly

20                      identify the protected portion(s) (e.g., by making appropriate

21                      markings in the margins).

22                      b.     A Party or Non-Party that makes original documents

23                      available for inspection need not designate them for protection

24                      until after the inspecting Party has indicated which documents it


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 1                     would like copied and produced. During the inspection and before

 2                     the designation, all of the material made available for inspection

 3                     shall be deemed “CONFIDENTIAL.” After the inspecting Party has

 4                     identified the documents it wants copied and produced, the

 5                     Producing Party must determine which documents, or portions

 6                     thereof, qualify for protection under this Order. Then, before

 7                     producing the specified documents, the Producing Party must affix

8                      the “CONFIDENTIAL legend” to each page that contains Protected

 9                     Material. If only a portion or portions of the material on a page

10                     qualifies for protection, the Producing Party also must clearly

11                     identify the protected portion(s) (e.g., by making appropriate

12                     markings in the margins).

13                     c.     For testimony given in depositions, that the Designating

14                     Party identify the Disclosure or Discovery Material on the record,

15                     before the close of the deposition all protected testimony.

16                     d.     For information produced in form other than document and

17                     for any other tangible items, that the Producing Party affix in a

18                     prominent place on the exterior of the container or containers in

19                     which the information is stored the legend “CONFIDENTIAL.” If

20                     only a portion or portions of the information warrants protection,

21                     the Producing Party, to the extent practicable, shall identify the

22                     protected portion(s).

23         C.    Inadvertent Failure to Designate

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 1                 1.       If timely corrected, an inadvertent failure to designate qualified

 2                 information or items does not, standing alone, waive the Designating

 3                 Party’s right to secure protection under this Order for such material.

 4                 Upon timely correction of a designation, the Receiving Party must make

 5                 reasonable efforts to assure that the material is treated in accordance with

 6                 the provisions of this Order.

 7   VII.   CHALLENGING CONFIDENTIALITY DESIGNATIONS

8           A.     Timing of Challenges

 9                 1.       Any party or Non-Party may challenge a designation of

10                 confidentiality at any time that is consistent with the Court’s Scheduling

11                 Order.

12          B.     Meet and Confer

13                 1.       The Challenging Party shall initiate the dispute resolution process

14                 under Local Rule 37.1 et seq.

15          C.     The burden of persuasion in any such challenge proceeding shall be on

16          the Designating Party. Frivolous challenges, and those made for an improper

17          purpose (e.g., to harass or impose unnecessary expenses and burdens on other

18          parties) may expose the Challenging Party to sanctions. Unless the Designating

19          Party has waived or withdrawn the confidentiality designation, all parties shall

20          continue to afford the material in question the level of protection to which it is

21          entitled under the Producing Party’s designation until the Court rules on the

22          challenge.

23   VIII. ACCESS TO AND USE OF PROTECTED MATERIAL

24          A.     Basic Principles


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 1               1.     A Receiving Party may use Protected Material that is disclosed or

 2               produced by another Party or by a Non-Party in connection with this

 3               Action only for prosecuting, defending, or attempting to settle this Action.

 4               Such Protected Material may be disclosed only to the categories of

 5               persons and under the conditions described in this Order. When the

 6               Action has been terminated, a Receiving Party must comply with the

 7               provisions of Section XIV below.

8                2.     Protected Material must be stored and maintained by a Receiving

 9               Party at a location and in a secure manner that ensures that access is

10               limited to the persons authorized under this Order.

11         B.    Disclosure of “CONFIDENTIAL” Information or Items

12               1.     Unless otherwise ordered by the Court or permitted in writing by

13               the Designating Party, a Receiving Party may disclose any information or

14               item designated “CONFIDENTIAL” only to:

15                      a.     The Receiving Party’s Outside Counsel of Record in this

16                      Action, as well as employees of said Outside Counsel of Record to

17                      whom it is reasonably necessary to disclose the information for this

18                      Action;

19                      b.     The officers, directors, and employees (including House

20                      Counsel) of the Receiving Party to whom disclosure is reasonably

21                      necessary for this Action;

22                      c.     Experts (as defined in this Order) of the Receiving Party to

23                      whom disclosure is reasonably necessary for this Action and who

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 1                    have signed the “Acknowledgment and Agreement to Be Bound”

 2                    (Exhibit A);

 3                    d.     The Court and its personnel;

 4                    e.     Court reporters and their staff;

 5                    f.     Professional jury or trial consultants, mock jurors, and

 6                    Professional Vendors to whom disclosure is reasonably necessary

 7                    or this Action and who have signed the “Acknowledgment and

8                     Agreement to be Bound” attached as Exhibit A hereto;

 9                    g.     The author or recipient of a document containing the

10                    information or a custodian or other person who otherwise

11                    possessed or knew the information;

12                    h.     During their depositions, witnesses, and attorneys for

13                    witnesses, in the Action to whom disclosure is reasonably

14                    necessary provided: (i) the deposing party requests that the

15                    witness sign the “Acknowledgment and Agreement to Be Bound;”

16                    and (ii) they will not be permitted to keep any confidential

17                    information unless they sign the “Acknowledgment and Agreement

18                    to Be Bound,” unless otherwise agreed by the Designating Party or

19                    ordered by the Court. Pages of transcribed deposition testimony or

20                    exhibits to depositions that reveal Protected Material may be

21                    separately bound by the court reporter and may not be disclosed to

22                    anyone except as permitted under this Stipulated Protective Order;

23                    and

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 1                      i.     Any mediator or settlement officer, and their supporting

 2                      personnel, mutually agreed upon by any of the parties engaged in

 3                      settlement discussions.

 4   IX.   PROTECTED MATERIAL SUPOENAED OR ORDERED PRODUCED

 5         IN OTHER LITIGATION

 6         A.    If a Party is served with a subpoena or a court order issued in other

 7         litigation that compels disclosure of any information or items designated in this

8          Action as “CONFIDENTIAL,” that Party must:

 9               1.     Promptly notify in writing the Designating Party. Such notification

10               shall include a copy of the subpoena or court order;

11               2.     Promptly notify in writing the party who caused the subpoena or

12               order to issue in the other litigation that some or all of the material

13               covered by the subpoena or order is subject to this Protective Order. Such

14               notification shall include a copy of this Stipulated Protective Order; and

15               3.     Cooperate with respect to all reasonable procedures sought to be

16               pursued by the Designating Party whose Protected Material may be

17               affected.

18         B.    If the Designating Party timely seeks a protective order, the Party served

19         with the subpoena or court order shall not produce any information designated

20         in this action as “CONFIDENTIAL” before a determination by the Court from

21         which the subpoena or order issued, unless the Party has obtained the

22         Designating Party’s permission. The Designating Party shall bear the burden

23         and expense of seeking protection in that court of its confidential material and

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 1         nothing in these provisions should be construed as authorizing or encouraging a

 2         Receiving Party in this Action to disobey a lawful directive from another court.

 3   X.    A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE

 4         PRODUCED IN THIS LITIGATION

 5         A.    The terms of this Order are applicable to information produced by a Non-

 6         Party in this Action and designated as “CONFIDENTIAL.” Such information

 7         produced by Non-Parties in connection with this litigation is protected by the

8          remedies and relief provided by this Order. Nothing in these provisions should

 9         be construed as prohibiting a Non-Party from seeking additional protections.

10         B.    In the event that a Party is required, by a valid discovery request, to

11         produce a Non-Party’s confidential information in its possession, and the Party

12         is subject to an agreement with the Non-Party not to produce the Non-Party’s

13         confidential information, then the Party shall:

14               1.     Promptly notify in writing the Requesting Party and the Non-Party

15               that some or all of the information requested is subject to a

16               confidentiality agreement with a Non-Party;

17               2.     Promptly provide the Non-Party with a copy of the Stipulated

18               Protective Order in this Action, the relevant discovery request(s), and a

19               reasonably specific description of the information requested; and

20               3.     Make the information requested available for inspection by the

21               Non-Party, if requested.

22         C.    If the Non-Party fails to seek a protective order from this court within 14

23         days of receiving the notice and accompanying information, the Receiving Party

24         may produce the Non-Party’s confidential information responsive to the


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 1         discovery request. If the Non-Party timely seeks a protective order, the

 2         Receiving Party shall not produce any information in its possession or control

 3         that is subject to the confidentiality agreement with the Non-Party before a

 4         determination by the court. Absent a court order to the contrary, the Non-Party

 5         shall bear the burden and expense of seeking protection in this court of its

 6         Protected Material.

 7   XI.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

8          A.     If a Receiving Party learns that, by inadvertence or otherwise, it has

 9         disclosed Protected Material to any person or in any circumstance not

10         authorized under this Stipulated Protective Order, the Receiving Party must

11         immediately (1) notify in writing the Designating Party of the unauthorized

12         disclosures, (2) use its best efforts to retrieve all unauthorized copies of the

13         Protected Material, (3) inform the person or persons to whom unauthorized

14         disclosures were made of all the terms of this Order, and (4) request such person

15         or persons to execute the “Acknowledgment and Agreement to be Bound” that is

16         attached hereto as Exhibit A.

17   XII. INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE

18         PROTECTED MATERIAL

19         A.     When a Producing Party gives notice to Receiving Parties that certain

20         inadvertently produced material is subject to a claim of privilege or other

21         protection, the obligations of the Receiving Parties are those set forth in Federal

22         Rule of Civil Procedure 26(b)(5)(B). This provision is not intended to modify

23         whatever procedure may be established in an e-discovery order that provides for

24         production without prior privilege review. Pursuant to Federal Rule of Evidence


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 1         502(d) and (e), insofar as the parties reach an agreement on the effect of

 2         disclosure of a communication or information covered by the attorney-client

 3         privilege or work product protection, the parties may incorporate their

 4         agreement in the Stipulated Protective Order submitted to the Court.

 5   XIII. MISCELLANEOUS

 6         A.    Right to Further Relief

 7               1.       Nothing in this Order abridges the right of any person to seek its

8                modification by the Court in the future.

 9         B.    Right to Assert Other Objections

10               1.       By stipulating to the entry of this Protective Order, no Party waives

11               any right it otherwise would have to object to disclosing or producing any

12               information or item on any ground not addressed in this Stipulated

13               Protective Order. Similarly, no Party waives any right to object on any

14               ground to use in evidence of any of the material covered by this Protective

15               Order.

16         C.    Filing Protected Material

17               1.       A Party that seeks to file under seal any Protected Material must

18               comply with Civil Local Rule 79-5. Protected Material may only be filed

19               under seal pursuant to a court order authorizing the sealing of the specific

20               Protected Material at issue. If a Party's request to file Protected Material

21               under seal is denied by the Court, then the Receiving Party may file the

22               information in the public record unless otherwise instructed by the Court.

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 1   XIV. FINAL DISPOSITION

 2         A.     After the final disposition of this Action, as defined in Section V, within

 3         sixty (60) days of a written request by the Designating Party, each Receiving

 4         Party must return all Protected Material to the Producing Party or destroy such

 5         material. As used in this subdivision, “all Protected Material” includes all copies,

 6         abstracts, compilations, summaries, and any other format reproducing or

 7         capturing any of the Protected Material. Whether the Protected Material is

8          returned or destroyed, the Receiving Party must submit a written certification to

 9         the Producing Party (and, if not the same person or entity, to the Designating

10         Party) by the 60 day deadline that (1) identifies (by category, where appropriate)

11         all the Protected Material that was returned or destroyed and (2) affirms that the

12         Receiving Party has not retained any copies, abstracts, compilations, summaries

13         or any other format reproducing or capturing any of the Protected Material.

14         Notwithstanding this provision, Counsel are entitled to retain an archival copy of

15         all pleadings, motion papers, trial, deposition, and hearing transcripts, legal

16         memoranda, correspondence, deposition and trial exhibits, expert reports,

17         attorney work product, and consultant and expert work product, even if such

18         materials contain Protected Material. Any such archival copies that contain or

19         constitute Protected Material remain subject to this Protective Order as set forth

20         in Section V.

21         B.     Any violation of this Order may be punished by any and all appropriate

22         measures including, without limitation, contempt proceedings and/or monetary

23         sanctions.

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 1   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

 2
      Dated: November 22, 2021          REIF LAW GROUP, P.C.
 3
                                         /s/ Rachel D. Dardashti
 4                                      RACHEL D. DARDASHTI
                                        Attorneys for Plaintiff / Counterdefendant
 5                                      TEN-X, INC. and Counterdefendant BRADD
                                        CAPLAN
 6
      Dated: November 22, 2021          GASCOU HOPKINS LLP
 7
                                        /s/ James C Castle                 .
8                                       JAMES C. CASTLE
                                        Attorneys for Cross-Defendant
 9                                      JONES LANG LASALLE AMERICAS, INC.
10
      Dated: November 22, 2021          GREENSPOON MARDER LLP
11
                                         /s/ Kathleen C. Hipps
12                                       Kathleen C. Hipps
                                        Attorneys for Defendant/Counterclaimant PASHA
13                                      REALTY HOLDINGS, LLC and
                                        Counterclaimants AZHAR PASHA and PASHA
14                                      AVIATION LLC dba PASHA REALTY
                                        HOLDINGS
15   Dated: November 22, 2021           BAER NEGRIN & TROFF LLP
16                                      /s/ Matthew Negrin                        .
17                                      Matthew J. Negrin
                                        Attorneys for Cross-Defendant 5900, LLC
18

19
     FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
20

21   Dated: November 30, 2021                /s/ Autumn D. Spaeth
                                        HONORABLE AUTUMN D. SPAETH
22                                      United States Magistrate Judge

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 1                               EXHIBIT A
                  ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 2

 3           I,                                  [print or type full name], of

 4                         [print or type full address], declare under penalty of perjury that I

 5   have read in its entirety and understand the Stipulated Protective Order that was issued

 6   by the United States District Court for the Central District of California on [DATE] in

 7   the case of Ten-X, Inc. vs. Pasha Realty Holdings, LLC, et al., Case. No. 8:20-CV-02004-JVS-

8    ADS. I agree to comply with and to be bound by all the terms of this Stipulated

 9   Protective Order and I understand and acknowledge that failure to so comply could

10   expose me to sanctions and punishment in the nature of contempt. I solemnly promise

11   that I will not disclose in any manner any information or item that is subject to this

12   Stipulated Protective Order to any person or entity except in strict compliance with the

13   provisions of this Order.

14           I further agree to submit to the jurisdiction of the United States District Court

15   for the Central District of California for the purpose of enforcing the terms of this

16   Stipulated Protective Order, even if such enforcement proceedings occur after

17   termination of this action. I hereby appoint                                    [print or

18   type full name] of                                  [print or type full address and

19   telephone number] as my California agent for service of process in connection with this

20   action or any proceedings related to enforcement of this Stipulated Protective Order.

21   Date:

22   City and State where sworn and signed:

23   Printed Name:

24   Signature:


                                                    18
